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                                 UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA

Case No: 18-cr-00465-MMC-2
Case Name: USA v. Fujian Jinhua Integrated Circuit, Co. Ltd.

                             TRIAL SHEET, EXHIBIT and WITNESS LIST

 JUDGE:                              PLAINTIFF ATTORNEY:                     DEFENSE ATTORNEY:
 Maxine M. Chesney                   Laura Vartain, Nicholas Hunter,         Jack DiCanio, Emily Reitmeier,
                                     Nicholas Walsh, Stephen Marzen          Matthew Sloan
 TRIAL DATE:                         REPORTER(S):                            CLERK:
 March 9, 2022                       Ruth Ekhaus                             Bhavna Sharma

 PLF      DEF DATE/TIME
 NO.      NO. OFFERED            ID      REC     DESCRIPTION                                            BY
              9:04AM                             Court reconvened. All parties present. *Chen-
                                                 Hao Hsu present and previously sworn.
                                                 Discussion held with parties regarding Exhibits
                                                 P1523 and P1371, both exhibits are admitted.
                 9:17AM                          Continued direct examination of Chih-Hsuan             Govt
                                                 Chien*.
 P1514                           X               Pages 9, 11, 61, 67, 73, 75, 105, 130, 143, 152, and
                                                 156.
                 9:23AM                          Discussion held with parties regarding exhibits
                                                 pertaining to contents of hard drive 48 and
                                                 associated laptop (P0196). Discussion held
                                                 regarding seized evidence and accompanying
                                                 exhibits.
                 10:02AM                         Continued direct examination of Chih-Hsuan             Govt
                                                 Chien*.
                 10:03AM                         Court questions witness.
                 10:08AM                         Continued discussion regarding seized evidence,
                                                 accompanying exhibits, and stipulations
                                                 submitted on the seized evidence.
 P0191,                          X               Court overrules defense’s objection regarding
 P0196                                           authenticity for the reasons as stated on the
 P0204,                                          record.
 P0206,
 P0210,
 P0212,
 P0214,
 P0216
                 10:48AM                         Court in recess.
                 11:10AM                         Court reconvenes. Continued discussion
                                                 regarding seized evidence, accompanying
                                                 exhibits, and stipulations submitted on the seized
                                                 evidence.


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P0220,                 X           Court overrules defense’s objection regarding
P0228,                             authenticity for the reasons as stated on the
P0234                              record.
          11:16AM                  Continued direct examination of Chih-Hsuan          Govt
                                   Chien*.
P1524                  X
          11:22AM                  Continued discussion regarding seized evidence,
                                   accompanying exhibits, and stipulations
                                   submitted on the seized evidence.
          11:25AM                  Continued direct examination of Chih-Hsuan          Govt
                                   Chien*.
P0346                  X
P0533                  X    X      Admitted over defense’s objection with the
                                   limitations as stated on the record.
P1501                  X    X
P0346                  X    X      Pages 1, 2, 3, 4, 8, 9.
          12:12PM                  Direct examination concludes. No cross
                                   examination by defense. Witness thanked and
                                   excused.
          12:13PM                  Court in recess.
P0272     1:20PM      X    X       Court reconvenes. Parties have stipulated to a
                                   translation of the Labor Contract, P0272; exhibit
                                   is replaced and admitted.
          1:27PM                   Government witness: PATRICK NEWTON.
P1519                  X    X
P1520                  X    X
          1:48PM                   Direct examination concludes. No cross
                                   examination by defense. Witness thanked and
                                   excused.
          1:50PM                   Government witness: SCOTT DEBOER.
          1:59PM                   Demonstratives shown.
P0793                  X    X
P0121                  X
          2:49PM                   Discussion held regarding exhibits pertaining to
                                   alleged trade secrets.
P0121                       X
          3:04PM                   Court in recess.
          3:21PM                   Court reconvenes. Continued direct examination
                                   of Scott Deboer.
          4:13PM                   Court in recess for the day.




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